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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA                                                            Unsealing Order

      -    V. -                                                                             23 Cr. 490

ROBERT MENENDEZ,
NADINE MENENDEZ,
  a/k/a "Nadine Arslanian,"
WAELHANA,
  a/k/a "Will Hana,"
JOSE URIBE, and
FRED DAIBES,

                            Defendants.


          Upon the application of the United States, by the United States Attorney for the Southern

District of New York, Damian Williams, by Assistant United States Attorneys Eli J. Mark, Daniel

C. Richenthal, Paul M. Monteleoni, and Lara Pomerantz;

          It is found that the Indictment in the above-captioned case is currently sealed and the United

States Attorney's Office has applied to have that Indictment unsealed, and it is therefore:

          ORDERED that the Indictment in the above-captioned action shall be unsealed and remain

unsealed pending further order of the Court.


Dated:       New York, New York
             September 22, 2023


                                                              RABLE JENNIFER E. WILLIS
                                                            TED STATES MAGISTRATE JUDGE
                                                         SOUTHERN DISTRICT OF NEW YORK
